Case 5:22-cv-00115-TPB-PRL Document 55 Filed 08/17/23 Page 1 of 3 PageID 422




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION

ROBERT CONYERS JR.,                      )
as Personal Representative of            )
the Estate of DAVON GILLIANS,            )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )     Case No. 5:22-cv-115-TPB-PRL
                                         )
BRYAN ANTONELLI,           et al.        )
                                         )
      Defendants.                        )
                                         )

            DEFENDANT BRYAN ANTONELLI’S NOTICE TO COURT
                 REGARDING RESPONSE TO PLAINTIFF’S
             OBJECTION TO REPORT AND RECOMMENDATION

      Defendant Bryan Antonelli (“Mr. Antonelli”) hereby provides this

Honorable Court with notice that he does not intend to file a separate response to

the Plaintiff’s written objections to the Report and Recommendation issued on July

20, 2023.    See Docs. 52, 53.      On August 17, 2023, counsel for co-Defendant

Kirkendall filed a joint Defendants’ response to Plaintiff’s Objection to the Report

and Recommendation (hereinafter “joint response”), which counsel for Mr.

Antonelli co-signed. See Doc. 54. A footnote in the joint response indicates that

Mr. Antonelli will be filing a separate response, however, Mr. Antonelli has now

elected to rely on the joint response filed at Doc. 54, and will not be filing a separate

response.     Mr. Antonelli believes that the joint response addresses all of the
Case 5:22-cv-00115-TPB-PRL Document 55 Filed 08/17/23 Page 2 of 3 PageID 423




pertinent issues that the Court must decide in connection with the previously

issued Report and Recommendation. Therefore, Mr. Antonelli does not wish to

overburden the Court with a duplicative pleading that will essentially contain the

same arguments and legal authority as set forth in the joint response already filed

at Doc. 54.

      WHEREFORE, for the reasons set forth in the joint Defendants’ response to

Plaintiff’s Objection to the Report and Recommendation (Doc. 54), this Honorable

Court should adopt Magistrate Judge Lammens’ Report and Recommendation,

grant Defendants’ respective Motions to Dismiss, and dismiss the Amended

Complaint in its entirety.

      Respectfully submitted on this 17th day of August, 2023.


                                            /s/ Andrew C. Searle
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                                        2
Case 5:22-cv-00115-TPB-PRL Document 55 Filed 08/17/23 Page 3 of 3 PageID 424




                           CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system, which will send a notice of electronic filing

to all counsel in this case on August 17, 2023.

                                              /s/ Andrew C. Searle
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